                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
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UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                                   1:20-cr-01370-KWR

JULIAN GARCIA, III,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant’s Objections and Amended

Objections to the Presentence Investigation Report (Docs. 144, 149), and the Government’s

Motion for Upward Departure or in the Alternative Variance (Doc. 145). The Court held a

sentencing hearing on June 22, 2022 and heard argument on Defendant’s objections to the

presentence investigation report (“PSR”) and the Government’s motion for an upward departure

or variance. Having reviewed the parties’ briefs and the applicable law, the Court finds

Defendant’s objections are well taken in part and, therefore, are SUSTAINED IN PART and

OVERRULED IN PART. Moreover, the Court finds the Government’s Motion well-taken in

part, and therefore GRANTED IN PART.

       Specifically, the Government has failed to show by a preponderance of the evidence that

Defendant caused the victim’s death. The Court denies the Government’s request for an upward

departure, but will grant in part its request for an upward variance. For the reasons stated herein

and at the June 29, 2022 sentencing hearing, after weighing the 18 U.S.C. § 3553(a) factors, the
Court finds that a sentence of sixty months imprisonment is sufficient but not greater than

necessary to satisfy the goals of sentencing.

                                        BACKGROUND

       On July 4, 2019, at 9:25 p.m. spectators were celebrating the holiday and standing along

the roadside of State Road 291 to watch the fireworks. Defendant was driving an ATV while

intoxicated on the highway when he struck and severely injured the victim in this case. The victim

suffered severe, permanent, and life-altering injuries. Several witnesses testified at trial that

Defendant was driving erratically.

       A jury convicted Defendant of all counts in the Second Superseding Indictment, which

consisted of the following:

        Count 1: Assault resulting in serious bodily injury, in violation of 18 U.S.C. § 1152 and §

       113(a)(6);

       Count 2: Operating an Off-Highway Vehicle while under the Influence of Intoxicating

       Liquor or Drugs Resulting in Bodily Injury in violation of 18 U.S.C. § 1152 and N.M.

       Stat. Ann. § 66-3-1010.3(A)(2); and

       Count 3: Operating an Off-Highway Vehicle on a Paved Street or Highway resulting in

       Bodily Injury in violation of 18 U.S.C. § 1152 and N.M. Stat. Ann. § 66-3-1011

See Doc. 130 (redacted jury verdict).

       The victim died several months after the verdict in this case, on November 9, 2021.

                                          DISCUSSION

I.     Court sustains in part and overrules in part Defendant’s objections to the PSR.

       At the sentencing hearing, Defendant focused on two factual objections to the PSR. He

argued that (1) the posted speed limit was 45 MPH and not 35 MPH, and (2) the Government failed



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to show by a preponderance of the evidence that the victim’s death resulted from Defendant’s

actions. At the hearing, Defendant stated that his other objections were resolved by the Second

Addendum to the PSR (Doc. 152), or he did not request an evidentiary hearing on them. Therefore,

the Court assumes these other objections are no longer at issue.

       Rule 32(i)(3)(B) requires a sentencing court to make one of two possible determinations

whenever any portion of a PSR is “disputed.” Fed.R.Crim.P. 32(i)(3)(B). A court must either “rule

on the dispute” or “determine that a ruling is unnecessary.” Fed.R.Crim.P. 32(i)(3)(B). United

States v. Warren, 737 F.3d 1278, 1285 (10th Cir. 2013). “Rule 32(i)(3)(B) applies only if facts in

the PSR are disputed by specific objection.” See United States v. Waseta, 647 F.3d 980, 989 n. 6

(10th Cir.2011) (“Though Mr. Waseta made a general, unspecified objection to ‘allegations in the

[PSR] that have been suggested as [grounds for] a possible upward variance’ ... this sort of general

objection is inadequate to trigger a district court's factfinding obligation under Rule 32.”

(alterations in original)). Moreover, a defendant does not “dispute” a PSR's recitation of facts

unless he presents “information to cast doubt on” the facts. United States v. Yates, 22 F.3d 981,

989 (10th Cir.1994). “If a PSR is not disputed in this fashion, it is well established that a district

court is free to rely on the PSR at sentencing.” United States v. Warren, 737 F.3d 1278, 1285–86

(10th Cir. 2013); see United States v. Mateo, 471 F.3d 1162, 1166 (10th Cir.2006) (affirming

upward variance where the district court relied on uncontested facts included in the PSR).

       The Government must prove disputed facts by a preponderance of the evidence. United

States v. Munoz-Tello, 531 F.3d 1174 (10th Cir. 2008). “The district court may base its findings

of fact at sentencing on evidence presented at trial, undisputed statements in the PSR, and evidence

presented at the sentence hearing.” United States v. White, 663 F.3d 1207, 1216 (11th Cir. 2011);

see, e.g., United States v. Begaye, 163 F. App'x 669, 672 (10th Cir. 2006) (“The evidence presented



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at trial supports the district court's conclusion that Mr. Begaye served in an organizing or

supervisory capacity over Pergeson and Hahn.”).

       The PSR stated that the victim’s death was the result of injuries sustained in the crash.

Doc. 138 at ¶ 18 (PSR); Doc. 152 at 2 (second addendum to PSR addressing objection). Because

the Defendant disputed this fact, the Government bears the burden of showing Defendant caused

the victim’s death by a preponderance of the evidence. The victim died on November 9, 2021,

approximately two and half years after the collision in this case. The Government primarily points

to a one-page document produced by the Office of the Medical Investigator, which states that the

cause of death was head and neck injuries. It states that the injury occurred in a motor vehicle

crash. Doc. 146-1 at 1. The exam was conducted in absentia. Id.

       The Court does not find this document sufficiently persuasive to establish that Defendant

caused the victim’s death by a preponderance of the evidence. There is nothing in the record

explaining the basis for the OMI’s finding, or the how attending pathologist came to this

conclusion. No one testified as to the basis of this finding. The Government argues that a medical

investigator or pathologist reviewed the victim’s medical records and came to this conclusion.

However, the OMI report does not reflect what the pathologist reviewed or how the pathologist

came to this conclusion. Therefore, the Court sustains Defendant’s objection to the PSR and finds

that the Government did not show by a preponderance of the evidence that Defendant caused the

victim’s death.

       Moreover, Defendant objects to the assertion that the posted speed limit was 35 MPH. He

asserts that the posted speed limit was 45 MPH. The Government does not object to an amendment

to the PSR stating that speed limit was 45 MPH. Doc. 151 at 2. Therefore, the Court will assume

that the posted speed limit was 45 MPH. However, as argued by the Government and explained



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in the second addendum to the PSR, Doc. 152 at 4, this does not prohibit the Court from finding

that Defendant drove at a rate of speed that was excessive given the conditions. The posted speed

limit has slight relevance, given that Defendant was driving an ATV which was not authorized to

be the road. Doc. 152 at 4.

II.    Court declines to depart upward.

       The Government requests that the Court depart upward (1) because the instant offense

resulted in the victim’s death, USSG § 5K2.1, and (2) Defendant’s actions caused significant

endangerment to public safety under USSG § 5K2.14.

       The sentencing guidelines allow for a departure under USSG § 5k2.1 for the death of a

victim as follows:

       If death resulted, the court may increase the sentence above the authorized guideline range.

       Loss of life does not automatically suggest a sentence at or near the statutory maximum.
       The sentencing judge must give consideration to matters that would normally distinguish
       among levels of homicide, such as the defendant’s state of mind and the degree of planning
       or preparation. Other appropriate factors are whether multiple deaths resulted, and the
       means by which life was taken. The extent of the increase should depend on the
       dangerousness of the defendant’s conduct, the extent to which death or serious injury was
       intended or knowingly risked, and the extent to which the offense level for the offense of
       conviction, as determined by the other Chapter Two guidelines, already reflects the risk of
       personal injury. For example, a substantial increase may be appropriate if the death was
       intended or knowingly risked or if the underlying offense was one for which base offense
       levels do not reflect an allowance for the risk of personal injury, such as fraud.
USSG § 5K2.1. As explained above, the Court declines to depart upward under USSG § 5K2.1,

because the Government failed to show by a preponderance of the evidence that Defendant caused

the victim’s death.

       The Government also seeks an upward departure pursuant to USSG § 5K2.14, which

provides that if “[public] safety was significantly endangered [by the defendant's conduct], the

court may increase the sentence above the guideline range to reflect the nature and circumstances



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of the offense.” USSG § 5K2.14. Exercising its discretion, the Court declines to depart upward

under § 5K2.14.

III.   Court will vary upward.

       The Government alternatively requests that the Court vary upward from the guidelines to

the maximum sentence, 120 months’ imprisonment. The Court “shall impose a sentence sufficient,

but not greater than necessary” to satisfy the goals of sentencing. 18 U.S.C. § 3553(a). The Court

has considered all of the sentencing factors under 18 U.S.C. § 3553(a). Upon weighing the §

3553(a) factors, the Court finds that a sentence of 60 months’ imprisonment is sufficient but not

greater than necessary to satisfy the goals of sentencing, as explained below.

       The Court rejected the Government’s request for an upward departure, therefore the parties

appear to agree that a correctly calculated guideline imprisonment range is 37 to 46 months. Doc.

138 at ¶ 64. Given all the relevant circumstances and § 3553(a) factors, the Court finds a guideline

sentence is not sufficient to satisfy the goals of sentencing. “[A]lthough the ‘Guidelines should be

the starting point and the initial benchmark,’ district courts may impose sentences within statutory

limits based on appropriate consideration of all of the factors listed in [18 U.S.C.] § 3553(a),

subject to appellate review for ‘reasonableness.’ ” Pepper v. United States, 562 U.S. 476, 490

(2011) (quoting Gall, 552 U.S. at 49–51) (alteration added). Any sentence the district court

chooses to impose—whether it is within the Guidelines range or not—must comport with the goals

of sentencing as set forth in 18 U.S.C. § 3553(a).

       “[S]entencing courts ‘should engage in a holistic inquiry of the § 3553(a) factors.’ ” United

States v. Lente, 759 F.3d 1149, 1174 (10th Cir. 2014) (quoting Lopez–Macias, 661 F.3d at 492).

“A district court must consider the extent of the deviation [from the Guidelines] and ensure that

the justification is sufficiently compelling to support the degree of the variance. A major variance



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should have a more significant justification than a minor one. Nevertheless, the Court has rejected

an appellate rule that requires extraordinary circumstances to justify a sentence outside the

Guidelines range and the use of a rigid mathematical formula that uses the percentage of a

departure as the standard for determining the strength of the justifications required for a specific

sentence.” Lente, 759 F.3d at 1158 (internal citation and quotation marks omitted) (alternation in

original).

        “[I]t [is] quite clear that the sentencing court is not required to consider individually each

factor listed in § 3553(a) before issuing a sentence. Moreover, [the Tenth Circuit] does not demand

that the district court recite any magic words to show that it fulfilled its responsibility to be mindful

of the factors that Congress has instructed it to consider.” United States v. Rines, 419 F.3d 1104,

1107 (10th Cir. 2005) (quoting United States v. Contreras–Martinez, 409 F.3d 1236, 1242 (10th

Cir. 2005)) (alteration in original).

        The record reflects that Defendant drove while intoxicated and caused permanent and life-

threatening injuries to the victim. It also reflects that Defendant drove extremely recklessly given

the conditions. The highway was dark and crowded, and he did not have his headlights on. The

ATV was not authorized to be on the highway. Moreover, Defendant was aware of the dangers of

driving while intoxicated, given that he has a prior DWI conviction and took a DWI course.

Although the Court has considered all § 3553(a) factors, the Court finds that the following factors

especially support a sentence of sixty months’ imprisonment:


    •   The nature and circumstances of the offense and the history and characteristics of the
        defendant; and
    •   The need for the sentence to imposed –
            o to reflect the seriousness of the offense, to promote respect for the law, and to
               provide just punishment for the offense;
            o to afford adequate deterrence to criminal conduct; and
            o to protect the public from further crimes of the defendant.

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       As noted above, the Court assumes that the posted speed limit was 45 MPH, and Defendant

drove under the posted speed limit at approximately 37 MPH. Doc. 138 at ¶ 9. However, as an

officer testified, drivers would have driven more slowly in the dark and crowded conditions. Doc.

138 at ¶ 9. Moreover, Defendant was not authorized to drive the ATV on a highway.

       Multiple witnesses also testified that defendant was driving recklessly on the day of the

incident. See doc. 138 at ¶12-16. One witness testified that he was driving the ATV erratically,

and she would not let her granddaughter play near the road because of him. Another witness

testified that he erratically drove the ATV and became more erratic as the evening progressed.

Doc. 152 at 2.

       Here, the Court finds that Defendant was extremely reckless as he drove at a high rate of

speed through a crowded roadway. The testimony established he drove erratically, he drove while

intoxicated, and he drove without his headlights on. Finally, he drove a vehicle which was not

authorized for driving on a roadway. Although the Court assumes he was not driving above the

posted speed limit, the record reflects that he was not driving at a safe speed given the conditions

of the roadway.

       Moreover, the trial evidence and PSR established that Defendant’s actions caused

permanent and life-threatening injuries to the victim. She suffered numerous major surgeries and

long term stays in the hospital and ICU. Doc. 138 at ¶ 17. It is clear she never fully recovered.

The victim suffered a traumatic brain injury that resulted in cognitive impairments and memory

loss. Moreover, she was no longer able to care for herself. Id.

       Defendant appears to assert he was not intoxicated at the time of the collision. The Court

disagrees and finds that Defendant operated the ATV while intoxicated, and his intoxicated driving

of an unauthorized vehicle resulted in the victim’s injuries. The jury concluded beyond a



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reasonable doubt that Defendant operated the ATV while under the influence of alcohol. See doc.

130 (redacted jury verdict). For example, to find Defendant guilty under Count Two, the jury was

required to find in part that the defendant (1) operated an off-highway vehicle while under the

influence of intoxicating liquor and (2) as a result of this unlawful act, the Defendant caused bodily

injury to the victim. Doc. 127 at 15.

           It was clear from the testimony of the EMT and the doctor that Defendant was under the

influence at the time of the crash. An EMT testified that Defendant admitted to drinking alcohol

and that he refused to answer normal questions to assist with his treatment. The EMT testified that

Defendant smelled of alcohol, was not tracking with his eyes, and his speech was sluggish. He

appeared intoxicated to the EMT. Doc. 152 at 1-2. Moreover, a doctor testified that he was

suffering alcohol induced nystagmus and ataxia. He could not stand independently and he

exhibited multiple signs of impairment. Doc. 138 at ¶ 12-16.

           Driving under the influence is not an aberration for Defendant. Defendant had a previous

conviction for DWI and took a DWI course. Doc. 138 at 9 (DWI conviction); Doc. 138 at 13

(DWI course). This suggests that Defendant was aware of the dangers of drinking and driving.

           Considering the relevant facts and weighing all § 3553(a) factors, the Court finds that a

sentence of 60 months’ imprisonment is sufficient but not greater than necessary to satisfy the

goals of sentencing.1

           IT IS THEREFORE ORDERED that Defendant’s Objections and Amended Objections

to the Presentence Investigation Report (Docs. 144, 149) are SUSTAINED IN PART and

OVERRULED IN PART.




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    The Court also incorporates the findings made on the record at the June 29, 2022 sentencing hearing.

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      IT IS FURTHER ORDERED that the Government’s Motion for Upward Departure or

in the Alternative Variance (Doc. 145) is GRANTED IN PART and DENIED IN PART.


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                                      KEA W. RIGGS
                                      UNITED STATES DISTRICT JUDGE




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